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UNITED S'I`ATES DISTRICT COURT

WESTERN DISTRICT OF LOUISIANA

SHREVEPORT DIVISION
WILLIAM DEAN TUGGLE, SR. * SUIT NUl\/IBER 13-cv-2908
VERSUS *JUDGE HICKS
DAVID F. DIES, M.D., *MAGISTRATE JUDGE HORNSBY
EUSTACE L. EDWARDS, M.D.
And LOUISIANA MEDICAL

MUTUAL INSURANCE COMPANY

 

PLAINTIFF’S AMENDED COM:PLAINT

 

NOW INTO COURT, through undersigned counsel, comes WlLLlAM DEAN
TUGGLE, SR., and files this Amended Complaint, complaining of Defendants David F.
Dies, M.D.; Eustace L. Edwards, M.D.; and Louisiana Medical Mutual Insurance
Company, and for cause of action would state the following: a major domiciliary of
Wasl<om, Harrison County, Texas, Who, With respect represent

l.
PARTIES

Plaintifi` WILLIAM DEAN TUGGLE, SR. is a resident and domiciliary of
Harrison County, Texas. Plaintiff is a citizen of the State of Texas.

Defendant DAVID F. DIES, M.D., (“Dr. Dies”), is a resident and domiciliary of
Caddo Parish, Louisiana. Dr. Dies is a citizen of the State of Louisiana and is a physician

licensed to practice medicine and doing business in the State of Louisiana, whose

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principal place of business is in Caddo Parish, Louisiana, who may be served at 3217
Mabel Street, Shreveport, Louisiana 71103.

Defendant EUSTACE L. EDWARDS, M.D., (“Dr. Edwards”), is a resident and
domiciliary of Caddo Parish, Louisiana. Dr. Edwards is a citizen of the State of
Louisiana and is a physician licensed to practice medicine and doing business in the State
of Louisiana, whose principal place of business is in Caddo Parish, Louisiana, who may
be served at 8001 Youree Drive, Shreveport, Louisiana 71115.

LOUISIANA MEDICAL MUTUAL INSURANCE COMPANY, (“LAMMICO"),
a non-governmental corporation incorporated in the State of Louisiana, whose principal
office and principal place of business is in the State of Louisiana, and is domiciled in the
Parish of Jefferson, Who may be served at One Galleria Boulevard, Suite 700, Metairie,
Louisiana 70001.

2.

Plaintiff is allowed to file the instant Amended Complaint without leave of court,
by filing Within 21 days after service of the defendants’ answer, pursuant to Fed. R. Civ.
Pro. 15(a)(1)(B).

3.

This Court has jurisdiction over the lawsuit under 28 U.S.C. § 1332 because the
Plaintiff and the Defendants are citizens of different states and the amount in controversy
exceeds $75,000.00, excluding interest and costs.

4.

Venue is proper with this Honorable Court because two of the Defendants reside

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herein and the incident(s) complained of occurred herein in Caddo Parish, Louisiana.
5.

Plaintiff shows that the defendants herein are liable for any and all damages as are

reasonable in the premises
6.

The amount of damages sought herein are sufficient to establish jurisdiction in this l
Court, and should include legal interest thereon from January 23, 2012, the date the
request for the Medical Review Panel Was submitted, until paid and for all costs of these
proceedings

7.

Plaintiff further shows that a claim letter dated January 23, 2012, was filed against
the defendants, DAVID F. DIES, M.D., and EUSTACE L. EDWARDS, M.D., and
received by the Commissioner of Administration on February 1, 2012, pursuant to the
Louisiana Medical Malpractice Act (“l-lereinafter referred to as the “Act”). Plaintiff
shows that he Was notified by the Commissioner of Administration on February 1, 2012
that the defendants, DAVID F. DIES, M.D., and EUSTACE L. EDWARDS, M.D., are
qualified and do have coverage in the Patient’s Compensation Fund under the provisions
of Louisiana Revised Statutes 40:1299.41, et seq. A Medical Review Panel rendered an
Opinion on July 23, 2013, in accordance with the Act.

8.
Plaintiff was a 70 year-old male and on or about January 24, 2011, he presented to

Defendant Dr. David F. Dies at the Shreveport Endoscopy Center in Shreveport,

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Louisiana, and underwent a colonoscopy with Dr. Dies at 08:20 a.rn. due to high risk for
colon cancer and personal history of colon polyps.
9.

The colonoscope was introduced through the anus and advanced to the cecum. Dr.
Dies’ records reflect that the colonoscopy was extremely difficult due to the mobility of
the colon, and that successful completion of the procedure was aided by withdrawing the
scope, replacing it with the pediatric endoscope, and reinserting the scope.

10.

Dr. Dies found a somewhat rigid recto-sigmoid compatible with infra-abdominal
adhesions and multiple small-mouthed diverticula in the sigmoid colon. According to Dr.
Dies, the diverticular structuring in the sigmoid necessitated the need for a pediatric
endoscope.

l l.

Post-procedure, Plaintiff was in immediate extreme pain as soon as he awoke from
anesthesia and was experiencing severe nausea. Despite these complaints, Plaintiff` was
not evaluated by Dr. Dies or his staff and was instead rushed out of the recovery room
and forced to leave, only 30 minutes after the procedure Was over.

12.

At 12: 10 p.m. that same day, Plaintif`f presented to the Emergency Room at Willis-

Knighton Medical Center with complaints of abdominal pain, nausea, and vomiting that

started suddenly after having the colonoscopy. A physical exam showed the abdomen

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was soft without masses, tenderness, guarding, or rebound. Bowel sounds were present.
Plaintiff rated the pain on a scale of 10/10. He was medicated with Dilaudid and Zofran.
13.

Defendant Dr. Edwards ordered an x-ray for Plaintiff, which was taken at 01:09
p.m. and showed gaseous distention of the bowel. There was gas identified throughout
the large bowel, small bowel, and down into the rectum. Dr. Edwards discharged
Plaintiff with a diagnosis of abdominal pain thought secondary to gas, and chronic nausea
and Vomiting with exacerbation. Plaintiff ‘s pain and nausea continued throughout the
rest of the day and night.

14.

Early next morning, on January 25, 2011, Plaintiff was taken to the Emergency
Room at Willis-Knighton North and was admitted at 12:40 p.m. with complaints of pain
in the abdomen and buttocks on a scale of 10/10. Plaintiff was immediately diagnosed
with a perforated sigmoid colon and was prepared for a first stage Hartmann procedure
with resection of the sigmoid colon, creation of a Hartmann’s pouch, and end colostomy.
Dr. William Norwood performed the surgery and found quite a bit of loose liquid fecal
contamination in the pelvis from the perforated colon. The colon was matured and
sutured, and a colostomy bag was applied The CT of the abdomen and pelvis revealed
free air throughout the abdomen with no obstruction or bowel wall thickening noted, no
abnormal fluid collections noted, prior to cholecystectomy.

15.

The colostomy procedure went well, but Plaintiff then suffered complications

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postoperatively. He had problems with chronic renal disease and renal insufficiency, and
was kept in the ICU for a few days. Once his condition stabilized, he was moved to a
ward where he stayed until discharge on February 4, 2011.

16.

The failure of Dr. Dies to assess Plaintiff postoperatively, and the delay between
Dr. Edwards’s x-ray of 12:10 p.m. on January 24, 2011, and his ultimate diagnosis on a
12:40 p.m. on January 25, 2011, was greater than 24 hours and directly resulted in many
of Plaintiff’s problems. Had the CT scan been performed or the perforation diagnosed
and treated on January 24, 2011, Plaintiff would have had an opportunity for a quicker
and more complete recovery and avoided a long hospital stay, as well as a better end
result for his future.

17.

As a direct and proximate result of the aforestated substandard care, Plaintiff has
suffered physical pain and suffering, mental anguish and distress, permanent disability,
loss of enjoyment of life, medical bills and an increased likelihood of future problems
and additional medical bills in the future.

18.

The aforestated actions of the defendants, DAVID F. DIES, M.D., and EUSTACE
L. EDWARDS, M.D., fell below the medical standard of care and duty owed to plaintiff
and plaintiff is entitled to be fully compensated for all losses, injuries, and damages
which he has suffered as a result of the aforestated medical malpractice of defendants,

DAVID F. DIES, M.D., and EUSTACE L. EDWARDS, M.D.

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19.

Plaintiff shows that he complied with the provisions of the Louisiana Medical
Malpractice Act by submitting this case in a timely and appropriate fashion to a medical
review panel.

20.

At the time of the events sued upon, defendants, David F. Dies, M.D. and Eustace
L. Edwards, M.D., were insured and indemnified for acts of medical negligence by
Louisiana Medical Mutual Insurance Company (LAMMICO), named as a defendant
herein.

21.

Plaintiffs asserts their rights under the Seventh Amendment to the U.S.
Constitution and demand, in accordance with Federal Rule of Civil Procedure 38, a trial
by jury on all issues.

22.

Plaintiff is entitled to be fully and completely compensated for all losses, injuries,
and other damages caused by any substandard medical or surgical care on the part of the
defendant

Wl-IEREFORE, Defense counsel for all defendants has agreed to accept service of
the above and foregoing petition for damages on behalf of all defendants

PLAINTIFF, WILLIAM DEAN TUGGLE, SR., further prays that, aher due
proceedings had that there be judgment in his favor and against the defendants, DAVID

F. DIES, M.D. and EUSTACE L. EDWARDS, M.D., in a sum sufficient to iiJlly and

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completely compensate plaintiff for all losses, injuries and other damages which he has
suffered as a result of his substandard care with legal interest thereon from the date of the
filing of the original claim pursuant to the provisions of the Louisiana Medical
Malpractice Act until paid and all costs of these proceedings, including the fees of any
expert Witnesses that may be called to testify on behalf of the plaintiffs at the trial of this
matter, and for all orders and decrees necessary and proper, considering the premises
PLAINTIFF, WILLIAM DEAN TUGGLE, SR., further prays for full, general and

equitable relief.

Respectfully submitted,

/s/Patrick R. Jacl<son

Patrick R. Jackson

Patrick R. Jackson, APLC
Louisiana Bar No. 25722

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